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     IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                     DISTRICT OF TENNESSEE
                        EASTERN DIVISION



United States of America,
      Plaintiff,
vs.                                                       CR. No. 17-10004- STA

Billy Liggon, Jr.,
       Defendant.

________________________________________________________________

                              ORDER
 ________________________________________________________________



      The Court having considered the Defendant’s sealed Motion to Continue

Sentencing Hearing,

      IT IS HEREBY ORDERED that the Sentencing Hearing scheduled for

March 9, 2018 is hereby continued until Tuesday, May 22, 2018 at 11:00 A.M.

      IT IS FURTHER ORDERED that the above –mentioned Motion that is

currently under seal shall remain sealed.

      IT IS SO ORDERED, this 13th day of February, 2018.



                      s/ S. Thomas Anderson
                      S.THOMAS ANDERSON
                       CHIEF UNITED STATES DISTRICT COURT JUDGE
